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                    No. 22-5238(L), 22-5244, 22-5245, 22-5246
                 UNITED STATES COURT OF APPEALS
               FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                 __________________________

                        MAINE LOBSTERMEN’S ASSOCIATION,
                                               Plaintiff-Appellant,
               STATE OF MAINE DEPARTMENT OF MARINE RESOURCES
                                              Intervenor-Appellant,
                                     v.
 NATIONAL MARINE FISHERIES SERVICE; GINA RAIMONDO, IN HER OFFICIAL CAPACITY
      AS SECRETARY OF COMMERCE; JANET COIT, IN HER OFFICIAL CAPACITY AS
                  ASSISTANT ADMINISTRATOR FOR FISHERIES,
                                               Defendants-Appellees,
      CONSERVATION LAW FOUNDATION; CENTER FOR BIOLOGICAL DIVERSITY;
                         DEFENDERS OF WILDLIFE,
                                               Intervenors-Appellees.
                                 __________________________


    On Appeal from the United States District Court for the District of Columbia,
                             No. 1:21-cv-02509-JEB
                                 __________________________

 BRIEF FOR INTERVENOR-PLAINTIFF-APPELLANT STATE OF MAINE
             DEPARTMENT OF MARINE RESOURCES
                                 __________________________

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 November 9, 2022



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   CERTIFICATE AS TO PARTIES, RULINGS, AND RELATED CASES

       A.    Parties and Amici.

       Plaintiff-Appellant in this case is the Maine Lobstermen’s Association. The

State of Maine’s Department of Marine Resources, the Massachusetts

Lobstermen’s Association, and the District 4 Lodge of the International

Association of Machinists and Aerospace Workers, Local Lodge 207 intervened as

plaintiffs in the district court and are also Appellants in this appeal. The

Defendants-Appellees in this case are the National Marine Fisheries Service, Gina

Raimondo (in her official capacity as Secretary of Commerce), and Janet Coit (in

her official capacity as Assistant Administrator for Fisheries) (collectively,

“NMFS”). The Conservation Law Foundation, the Center for Biological Diversity,

and the Defenders of Wildlife intervened on behalf of NMFS in the district court

and are also Appellees in this appeal. No other parties, intervenors, or amici

appeared before the district court. The State of New Hampshire has filed a

statement of intent to file an amicus brief in support of Appellants in this Court; no

additional intervenors or amici have appeared before this Court.

       B.    Ruling Under Review.

       The ruling under review is the district court order and accompanying

memorandum opinion granting Appellees’ cross-motions for summary judgment

and denying Appellants’ motions for summary judgment. Judge James E.



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Boasberg of the U.S. District Court for the District of Columbia issued both the

order and the memorandum on September 8, 2022. The order is entry 75 on the

district court docket. The opinion is entry 76 on the district court docket. The

Westlaw citation for the opinion is 2022 WL 4392642.

       C.    Related Cases.

       This case has not previously come before this Court, nor has it come before

any other court (other than the district court). The U.S. District Court for the

District of Columbia is currently considering Center for Biological Diversity v.

Raimondo, No. 18-cv-112, a case that involves substantially the same parties and a

challenge to the same biological opinion issued by NMFS. Counsel is not aware of

any other related cases within the meaning of D.C. Circuit Rule 28(a)(1)(C).




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                     GLOSSARY OF ABBREVIATIONS

 APA                         Administrative Procedure Act

 BiOp                        References to the administrative record for the
                             2021 Biological Opinion

 Conservation Framework      North Atlantic Right Whale Conservation
                             Framework

 ESA                         Endangered Species Act

 J.A.                        References to the joint appendix

 M/SI                        mortalities and serious injuries

 NMFS                        National Marine Fisheries Service

 right whale                 North Atlantic right whale




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I.     STATEMENT OF JURISDICTION
       Maine adopts by reference the Statement of Jurisdiction of the Maine

Lobstermen’s Association.

II.    STATUTES AND REGULATIONS
       Relevant statutory and regulatory provisions are set forth in the addendum to

this brief.

III.   STATEMENT OF THE ISSUES PRESENTED
       Whether the National Marine Fisheries Service (“NMFS”) Biological

Opinion violated the Administrative Procedure Act (“APA”) and Endangered

Species Act (“ESA”) when it disregarded available information regarding the

effects of the lobster fishery on the right whale population.

       Whether NMFS violated the APA and ESA when it used the “worst case

scenario” in its Biological Opinion in those instances where the agency determined

there was uncertainty regarding the status and trend of the right whale population

or the effects of the lobster fishery on that population.

IV.    STATEMENT OF THE CASE
       The legal issue presented in this appeal is whether NMFS complied with the

APA and ESA when it developed its 2021 Biological Opinion for 10 fisheries

along the Eastern Seaboard of the United States, including the American lobster

fishery (“Biological Opinion”). The practical issue is whether it is appropriate for

the agency – when analyzing the effects of the lobster fishery on the North Atlantic


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right whale (“right whale”) – to embrace an approach that systematically inflates

the fishery’s effects on the right whale in a manner that will inevitably lead to the

destruction of the fishery, leaving a gaping hole in Maine’s economy and

devastating many coastal communities. The district court held that “NMFS

suitably considered the data available at the time of its action and reasonably

explained its scientific conclusions.” A220. But in its hurried opinion deferring to

NMFS, the court failed to give due consideration to the facts established by the

agency’s own Biological Opinion and administrative record. These facts

demonstrate a failure to “use the best scientific and commercial data available”

when preparing the Biological Opinion.

       A.    Consultation Under the ESA
       The Secretaries of Commerce and the Interior jointly administer the ESA.

The Secretary of Commerce has delegated this authority to NMFS, and the

Secretary of the Interior has delegated it to the U.S. Fish and Wildlife Service.

Species are listed as either “endangered” or “threatened” pursuant to statutory

criteria and rulemaking procedures set forth in the ESA. 16 U.S.C. § 1533(a)-(b).

Once a species is listed, the ESA provides it with a number of protections.

       Section 7(a)(2) of the ESA requires a federal action agency, in consultation

with and with the assistance of the relevant federal wildlife agency (in this case,

NMFS), to ensure that any action authorized, funded, or carried out by such action

agency is not likely to jeopardize the continued existence of any listed species or

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result in the destruction or adverse modification of critical habitat of such species.

Id. § 1536(a)(2). Section 7, the Joint Consultation Regulations, 50 C.F.R. pt. 402,

and the Endangered Species Consultation Handbook set out a detailed process for

analyzing the effects of a proposed federal action on listed species and designated

critical habitat.

       The federal action agency must first determine whether a proposed action

“may affect” a listed species. 50 C.F.R. § 402.14. Where, as here, the proposed

action may affect a listed species, the action agency must consult with the

appropriate federal wildlife agency. In this instance, NMFS was both (i) the

federal action agency, since it was proposing to authorize the fisheries in federal

waters and to promulgate regulations to implement amendments to the Atlantic

Large Whale Take Reduction Plan, and (ii) the consulting agency. As part of the

consultation process, in its capacity as consulting agency, NMFS must issue a

biological opinion detailing the effects of the action on the listed species. 16

U.S.C. § 1536(b)(3)(A). The Joint Consultation Regulations define “effects of the

action” and “environmental baseline,” 50 C.F.R. § 402.02, and explain that NMFS

must add the effects of the action and cumulative effects to the environmental

baseline in formulating its biological opinion. Id. § 402.14(g)(4). In fulfilling the

consultation requirements, each federal agency is required to “use the best

scientific and commercial data available.” 16 U.S.C. § 1536(a)(2); 50 C.F.R.

§ 402.14(d), (g)(8).

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       B.    The Biological Opinion
       In May 2021, NMFS released the Biological Opinion that is the subject of

this litigation. The proposed action that was the subject of consultation resulting in

the Biological Opinion consisted of: (i) authorization of 10 fisheries along the

Eastern Seaboard of the United States, including the American lobster fishery; (ii)

the North Atlantic Right Whale Conservation Framework (“Conservation

Framework”); and (iii) management measures implemented in multiple New

England Fishery Management Council Fishery Management Plans. A604-11.

NMFS released a draft of the Biological Opinion in January of the same year,

providing interested parties with the opportunity to review and comment.1 A449.

       NMFS further explained in the Conservation Framework, attached to the

Biological Opinion, that during consultation the agency “identified the need to

implement measures to further reduce entanglement of North Atlantic right whales

. . . to meet the mandates of the ESA,” and that the Conservation Framework

“identifies the level of reductions in mortalities and serious injuries (M/SI) that

NMFS is committed to achieve in order to meet its ESA mandates.” A1071. The

Framework commitments are, NMFS explained, “needed to ensure the fisheries

will not appreciably reduce the likelihood of the survival and recovery of the

species as required by the ESA.” A1074.


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 The State of Maine provided detailed input on the draft Biological Opinion.
A1220-30.
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        Based on its analysis of the proposed action, including the Conservation

Framework, NMFS indicated it expects “the status and trend of the population of

right whales would decline during the first 10 years and with the implementation of

the Framework, continue to decline but at a rate comparable to the no federal

fisheries scenario.” A938. NMFS went on to state that its projections “show that

the probability of the species continuing to decline, with or without the proposed

action, is extremely high (98.8 percent and 97.72 percent) respectively.” Id. At

the same time, NMFS noted the projections “were generated utilizing worst case

assumptions for several key variables,” and acknowledged they “should not be

interpreted as an accurate predictor of the actual future right whale population.”

A939.

V.      SUMMARY OF ARGUMENT
        Section 7(a)(2) of the Endangered Species Act requires NMFS to analyze the

effects of federal agency actions on species listed as threatened or endangered and

the designated critical habitat of such species. Further, it explicitly states NMFS

“shall use the best scientific and commercial data available” when analyzing the

effects of the action. Here, in analyzing the effects of the lobster fishery on the

right whale, NMFS adopted a “worst case scenario” analytical approach. The

agency’s use of this approach was pervasive. At each step in the analytical

process, it led NMFS to make decisions that – in the agency’s own words – would

“overestimate” the likelihood of right whale population decline, were “pessimistic”

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regarding the benefits of measures intended to protect the right whale, and resulted

in “a more conservative estimate” of entanglements in gear than the data

supported.

       The “worst case scenario” approach led NMFS to reject available data that

could and should inform the agency’s analysis of the effects of the action. In each

instance, the decision to disregard the best available scientific information led the

agency to inflate the effects of the lobster fishery on the right whale. NMFS

characterized this systematic exaggeration of the impacts of the fishery on the right

whale as precautionary. But arbitrary decision-making is not in the long-term

interests of the right whale, the lobster fishery, or Maine’s coastal communities

fueled by that fishery. It is for this very reason that Congress included the

requirement to use the best scientific and commercial data available in the

Endangered Species Act. Bennett v. Spear, 520 U.S. 154, 176 (1997).

VI.    ARGUMENT

       A.    Standard of Review
       On review of a district court’s grant of summary judgement, a circuit court

reviews the decision de novo. Am. Wild Horse Pres. Campaign v. Perdue, 873

F.3d 914, 922 (D.C. Cir. 2017). The APA provides for judicial review of final

agency actions including biological opinions. See 5 U.S.C. § 706(2)(A); Bennett v.

Spear, 520 U.S. at 154-55. Per the APA, courts must “hold unlawful and set aside

agency action, findings, and conclusions” that are found to be “arbitrary,

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capricious, an abuse of discretion, or otherwise not in accordance with law.” 5

U.S.C. § 706(2)(A). While deferential to the agency, the court’s deference must

not be mistaken for rubber stamp approval. Ethyl Corp. v. EPA, 541 F.2d 1, 34-35

(D.C. Cir. 1976). The reviewing court “must understand enough about the

problem confronting the agency to comprehend the meaning of the evidence relied

upon and the evidence discarded; the questions addressed by the agency and those

bypassed; the choices open to the agency and those made.” Id. at 36.

       In its searching inquiry, the court cannot make up for the agency’s own

deficiencies and “may not supply a reasoned basis for the agency’s action that the

agency itself has not given.” Motor Vehicle Mfrs. Ass’n v. State Farm Mut. Auto.

Ins. Co., 463 U.S. 29, 43 (1983) (citing SEC v. Chenery Corp., 332 U.S. 194, 196

(1947)). The agency must be able to “articulate a reasoned explanation for its

decision,” including a rational connection between the facts found and its ultimate

choice. Am. Wild Horse Pres., 873 F.3d at 923. If the court determines that an

agency “entirely failed to consider an important aspect of the problem” or “offered

an explanation for its decision that runs counter to the evidence before the agency,”

then the action is arbitrary and capricious. State Farm, 463 U.S. at 43.

       In addition, under section 7(a)(2) of the ESA, each federal agency is

required to “use the best scientific and commercial data available.” 16 U.S.C.

§ 1536(a)(2). An agency’s failure to use the best available science is a violation of

the APA. Defs. Of Wildlife v. U.S. Dep’t. of the Interior, 931 F.3d 339, 345 (4th

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Cir. 2019). This best available data requirement prevents an agency from ignoring

other available data and “prohibits an agency from disregarding available scientific

evidence that is in some way better than the evidence it relies on.” Kern Cty. Farm

Bureau v. Allen, 450 F.3d 1072, 1080-81 (9th Cir. 2006) (quoting Sw. Ctr. For

Biological Diversity v. Babbitt, 215 F.3d 58, 60 (D.C. Cir. 2000)) (alterations

omitted).

       B.    The Worst Case Scenario Analytical Approach is Unlawful
       NMFS violated the APA and ESA when – rather than using the best

scientific information available – it adopted a pervasive “worst case scenario”

approach to analyzing the effects of the lobster fishery on the right whale. In the

Biological Opinion, NMFS explained the approach to analyzing the effects of the

action on the right whale prescribed by the ESA and its regulations as follows:

       In Effects of the Action section, we present the results of our assessment
       of the probable effects of [the lobster fishery on the right whale].
       Effects of the action are defined as all consequences to listed species or
       critical habitat that are caused by the proposed action, including the
       consequences of other activities that are caused by the proposed action.
       A consequence is caused by the proposed action if it would not occur
       but for the proposed action, and it is reasonably certain to occur.

A804. This approach is consistent with the ESA consultation provisions –

including the requirement to “use the best scientific and commercial data

available” – and the agency’s consultation regulations. 16 U.S.C. § 1536(a)(2); 50

C.F.R. § 402.02 (defining the “effects of the action”).

       However, rather than follow this approach and adhere to the requirements

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set forth in the ESA and its implementing regulations, NMFS elected to adopt a

“worst case scenario” approach to analyzing the effects of the lobster fishery on the
            2
right whale. The administrative record is replete with evidence of this fact. For

example, in the section of the Biological Opinion describing the effects of the

lobster fishery on the right whale, NMFS stated: “When dealing with data

uncertainties (e.g, a range of potential calving rates, or unquantified benefits from

conservation measures), we utilized metrics representing the worst case scenario.

Consequently, model outputs very likely overestimate the likelihood of a declining

population.” A926 (emphasis added). In other words, NMFS purposely

manipulated its population model to yield outcomes that underestimated the size

and future trajectory of the right whale population and underestimated the benefits

of right whale conservation measures.

       Likewise, in a memo prepared by NMFS “for the record” with respect to the

Biological Opinion, the agency reiterated the consequences of its “worst case

scenario” approach: “we believe that the [right whale population] projections likely

underestimate the population’s ability to recover and the trajectory is likely




2
  NMFS also referred to its “worst case scenario” approach as “precautionary.”
E.g., A454 (NMFS PowerPoint presentation in which the agency describes its
approach to the consultation as “Precautionary measures everywhere”); A458
(same). An approach that improperly allocates the risk posed to a listed species by
various anthropogenic and non-anthropogenic factors is not precautionary; it is
misleading and can be expected to result in faulty public policy.
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pessimistic.” A497. In addition to underestimating the size and future trajectory

of the right whale population and underestimating the benefits of conservation

measures intended to benefit that population, NMFS systematically overstated the

effects of the lobster fishery on the population. Examples of the ways in which the

agency overstated the effects of the lobster fishery on the right whale population,

which we will describe in some detail below, were:

       1. disregarding the best available data on apportionment of entanglements

           between the Canada and the United States and defaulting instead to an

           arbitrary 50/50 split;

       2. disregarding the best available data regarding the apportionment of right

           whale entanglement between gear types and assuming instead that 100

           percent of entanglements are attributable to lobster trap/pot gear; and

       3. disregarding the best available data regarding the apportionment of right

           whale mortality between anthropogenic and natural sources and assuming

           instead that 100 percent of mortality is attributable to anthropogenic

           sources.

       NMFS applied its “worst case scenario” analytical approach throughout the

process of analyzing the effects of the lobster fishery on the right whale. By

utilizing this “worst case scenario” approach, NMFS sealed the fate of the lobster

fishery – assuring that the agency’s analysis would demonstrate that the right

whale was on the brink of extinction and the lobster fishery was to blame,

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irrespective of the best available scientific information. This is precisely the type

of needless economic dislocation that Congress sought to avoid when it

incorporated the mandate to “use the best scientific and commercial data available”

into the consultation requirement in section 7(a)(2) of the ESA. 16 U.S.C.

§ 1536(a)(2); Bennett v. Spear, 520 U.S. at 176 (holding that the purpose of the

best available science requirement is to “ensure that the ESA not be implemented

haphazardly, on the basis of speculation or surmise” in order to advance the

statute’s twin objectives of species preservation and avoiding needless economic

dislocation).

       In rejecting this argument that NMFS erred by utilizing a “worst case

scenario” approach, the district court opined that “the agency did not use a

substantive presumption to displace scientific judgment . . . .” A221. However,

the record demonstrates that this is precisely what NMFS did. For example,

NMFS states repeatedly that, in its best professional judgment, measures taken by

the Government of Canada benefit right whales. A518 (“we believe that measures

taken by the Government of Canada are benefiting right whales”); A1075 (“we

assert that the measures taken by Canada are and will continue to benefit right

whales”); A2125 (“we believe that the measures taken by Canada will benefit right

whales”). But, in light of its “worst case scenario approach,” NMFS chose to

displace its best professional judgment in the Biological Opinion. A518 (stating

“we assume there is no positive impact from Canadian measures”); A1075

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(explaining that the agency’s analysis would proceed “as if the Canadian measures

are not benefitting the right whale population”); A2125 (stating the agency “takes a

conservative approach and plans as if the Canadian measures are not benefitting

right whales”). The agency’s decision to disregard the best available scientific

information violated the APA and ESA.

             1.     NMFS acted unlawfully by disregarding available data on
                    apportionment of entanglements between the U.S. and
                    Canada.
       One area where the worst case scenario approach led NMFS to disregard

best available scientific information in the Biological Opinion was in apportioning

entanglements of unknown origin 50-50 between the United States and Canada. In

arriving at this arbitrary 50-50 split, NMFS discarded actual scientific data it had

on entanglements of known origin. Contrary to the claim made by NMFS in the

Biological Opinion and embraced by the district court, the independent peer review

conducted by the Center for Independent Experts did not conclude that NMFS’s

50-50 approach was “reasonable.” In fact, multiple peer reviewers at various

points along the process encouraged the agency to reassess how it was

apportioning mortalities of unknown origin, with one expressly suggesting the

agency base its allocation on actual data.

             a)     NMFS ignored the facts and did not provide a rational reason
                    why.
       The ESA requires agencies to “use the best scientific and commercial data



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available.” 16 U.S.C. § 1536(a)(2). This requirement exists “to ensure that the

ESA not be implemented haphazardly, on the basis of speculation or surmise.”

Bennett v. Spear, 520 U.S. at 176. Yet in the Biological Opinion, NMFS chose to

set aside the hard scientific data the agency possessed. As NMFS laid out in the

draft Biological Opinion, it could determine the country of origin for a substantial

number of the observed entanglements for the covered period (e.g., 26 of the 112

observations from 2010-2019, or more than 23 percent). A450-51. Of those

observed entanglements, 49 resulted in M/SI, 11 of which could be assigned to a

country of origin (more than 22 percent). Id. NMFS’s own data showed that the

Canada-U.S. split was heavily weighted toward impacts in Canadian waters: 69

percent of all known entanglements and 82 percent of known entanglements that

resulted in mortality or significant injury. Id. The agency could have apportioned

unassigned observed entanglements based on those observed data, yet the agency
                                     3
chose to use an arbitrary 50-50 split. See A814-15.

       Clearly, NMFS needed to come up with a way to apportion entanglements of

unknown origin, but instead of providing a well-reasoned, logical approach based

on the existing data, the agency chose to make an arbitrary assumption that

conflicted with the existing data. Worse, the agency provided no “rational



3
 Using a subset of data to extrapolate to the full data set is standard practice in
conservation biology and fisheries science and consistent with the agency’s own
conduct as we explain in section VI.B.2, infra.
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connection between the facts found and the choice made.” State Farm, 463 U.S. at

43. In the section of the Biological Opinion where NMFS arrives at the 50-50

split, the only data that the agency presents are the aforementioned data on

observed entanglements, which show substantially greater impacts attributable to

Canada. See A813-15. The only information offered to explain or support the 50-

50 split are summary statements for which NMFS offers no factual support. See

id. There is no “rational connection” provided; no explanation to justify ignoring

the actual data and no support for NMFS’s blanket assertions about other factors.

             b)     Multiple peer reviewers did not agree with NMFS’s approach.
       In affirming the agency’s decision to set aside the available data and opt to

split the difference, the district court lauds NMFS for submitting its approach for

peer review. A224 (“For good measure, the agency submitted its approach for peer

review by the Center for Independent Experts . . .”). But peer review is only an

effective means to improve agency decision-making if the agency responds

appropriately to reviewer input. In this circumstance, NMFS failed to do so and

went further to mischaracterize the independent peer review as supporting the

agency’s methods. In the Biological Opinion, NMFS asserts that the peer

reviewers “considered the approach reasonable” and broadly refers to the peer

review reports in a footnote with no precise citation to where the reviewers came to

this conclusion. See A815. Unfortunately, the district court took NMFS’s

statement at face value and does not appear to have verified the agency’s

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assertions. A224. If it had, the court would have seen that multiple peer reviewers

recommended NMFS revisit its decision.

       The district court cited to one of the peer review summary reports of the

North Atlantic Right Whale Decision Support Tool to support the court’s

conclusion that peer reviewers found NMFS’s approach “reasonable.” See id.

(citing A1991-92). However, that summary of multiple peer reviews expressly

states twice that “a different method from the 50:50 split of unknowns to US and

Canadian fisheries should be examined” and the word “reasonable” merely appears

in an unrelated quote referring to how to determine the potential biological

removal in a migratory stock. See A1991. When it comes to the 50-50

apportionment, the summary lists the following “concern”:

       The current approach for apportioning human-caused mortality by
       country may not be the most appropriate approach. There has been a
       clear recent shift in the spatial distribution of NARW which has been
       coupled with a shift in the source of known serious injuries or
       mortalities to more Canadian records. Therefore, a different method
       from the 50:50 split of unknowns to US and Canadian fisheries should
       be examined.

Id.

       Likewise, one of the peer reviewers of the North Atlantic Right Whale

Model Projections stated that “[t]he split of mortalities 1:1 between USA and

Canada does not seem to have much supporting evidence in the documentation

provided.” A422. Another peer reviewer concluded that the 50-50 apportionment

“does not reflect the current shift in NARW distribution and the recent increase in

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Canadian fisheries involvement in SI-M” and expressly suggested the agency base

apportionment on known data. A2023.

             c)     Other interested parties pointed out this error to NMFS.
       It was not just the peer reviewers who told NMFS that its arbitrary 50-50

allocation was inconsistent with the requirement to use the best available scientific

information. In comments on the draft Biological Opinion, the State of Maine

advocated for reliance on “actual data” in the record to apportion mortality of right

whales between Canada and the United States where the country responsible could

not be determined. A1224. A coalition of associations representing the New

England lobster fishery likewise observed “NMFS’s 50-50 allocation

determination is not consistent with the best available scientific data, including

NMFS’s own data.” A1177.

       NMFS chose to ignore all of these points. The agency’s decision to

apportion entanglements of unknown origin 50-50 between the United States and

Canada blatantly ignored a decade of existing actual data in favor of opinions that

are unsupported in the Biological Opinion. NMFS did not use “the best scientific

and commercial data available” – it ignored those data. This is the antithesis of

reasoned decision-making, the bare minimum required under the APA. Michigan

v. EPA, 576 U.S. 743, 750 (2015) (opining that the APA requires federal agencies

to engage in reasoned decision-making); Allentown Mack Sales & Serv., Inc. v.

NLRB, 522 U.S. 359, 374 (1998) (same).

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             2.     NMFS erred by attributing 100 percent of U.S. right whale
                    entanglements to the lobster fishery.
       Right whales can become entangled in trap/pot gear used by lobster

harvesters or in gillnet fishing gear used in other fisheries, such as the spiny

dogfish fishery. NMFS has gathered data, reported in the Biological Opinion, on

the number of entanglements by gear type. A816 (Table 59). For approximately

one quarter of the reported data, the gear type is known and falls within one of

three categories: trap/pot, gillnet, or net. For the other three quarters of reported

data, the gear type is categorized as not known. In Chart 1, we

                  Chart 1: Total M/SI Entanglements by Gear Type:
                                     2010-2018


                                    19%

                              5%



                                                  76%




                              Unknown     Gillnet/net   Pot/trap



summarize the combined known and unknown data (combining gillnet and net gear

into a single category) from Table 59 in the Biological Opinion. In Chart 2, we

summarize the known data only, again combining gillnet and net gear into a single

category and also from Table 59 in the Biological Opinion.


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                Chart 2: Known M/SI Entanglements by Gear Type:
                                  2010-2018



                                                 22%



                                      78%




                                   Gillnet/net   Pot/trap



       Rather than rely on the known data when determining how to apportion the

proportion of right whale entanglements resulting in mortality or serious injury by

gear type, NMFS simply assumed that 100 percent of unknown entanglements are

attributable to trap/pot gear (i.e., lobster gear). A482 (“As described in the draft

and final Biological Opinion, we assign all confirmed M/SI entanglements with

unknown gear to pot/trap gear.”). By doing so, NMFS overstated the effects of the

lobster fishery on the right whale, violating the APA and ESA.

       NMFS’s decision to disregard the available data when determining how to

apportion mortality and significant injury between gear types is inconsistent with
                                                                    4
standard practice in conservation biology and fisheries science. It is also



4
  This practice is not limited to conservation biology; rather it is reflected in myriad
science-informed activities from the design of clinical trials to test new vaccines to
the use of polling data to predict election outcomes.
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inconsistent with the agency’s own conduct elsewhere in the Biological Opinion of

extrapolating (or drawing inference) from a subset to an entire data set. For

example, in the Biological Opinion NMFS extrapolates from a subset of data (the

observed data) to estimate both the abundance and distribution of right whales.

A680 (describing NMFS-generated abundance estimates for right whales using

methods set forth in Pace et al. (2017)); A1804 (explaining that observed data

forms the basis of an annual assessment of right whale population status); A784

(describing the distribution of right whales based on surveys and monitoring data).

There are many other examples from the Biological Opinion where NMFS

extrapolates from a subset of data to the entire data set, for example, of fin whale

populations based on survey data (A689), sea turtle density using satellite tags

(A788), and Atlantic salmon distribution using trawl surveys (A792).

       In deciding to disregard the best available data and assume that 100 percent

of entanglements resulting in mortality or significant injury should be attributed to

trap/pot gear, NMFS leaned on four arguments, all of which the district court

wrongly found persuasive. The first of these is that right whale interactions with

nets “may be more easily detected” resulting in a higher percentage of these

interactions being observed. A226. This supposition is not unreasonable on its

face – nets may (or may not) be more easily detected than lines – but a supposition

does not provide a reasonable basis to disregard the best available data. And

NMFS cites to no research whatsoever regarding the relative detection rates of net

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gear and trap/pot gear to support the supposition.

       Second, the court found persuasive the agency’s argument “that the

percentage of known trap/pot interactions that cause M/SI (53%) is substantially

higher than the percentage of known gillnet interactions that cause M/SI (29%).”

Id. But this argument is based on the very data reported in Table 59 that NMFS

disregards when it elects not to extrapolate from the observed data. Below, we

reproduce that table with an additional row that includes the percentages quoted by

the district court.

       Table 1. Number of entanglements and M/SI by gear type, 2010-2018

                                 Unknown Gillnet Net Pot/Trap            Total
           Entanglements            82     6      2     17               107
           M/SI                     37    1.75 0.75      9               48.5
           M/SI entanglements      45%    29% 38%      53%               45%
           as a percent of total
           entanglements


These data do suggest that pot/trap accounts for the highest number of known

entanglements, the highest number of known entanglements resulting in M/SI, and

the highest percentage of known entanglements resulting in M/SI by gear type.

But they provide no support for the argument that the other data can simply be

zeroed out.

       Third, the court opined that “NMFS explained that vertical lines are the

principal cause of M/SI injury: 21 of 22 cases of M/SI where gear was present (but

the precise type of that gear was unidentifiable) involved vertical-line gear.” Id.

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Importantly, the 22 cases described in the Biological Opinion and referenced by

the district court are all instances where NMFS determined the gear type was

“unknown.” A815. In 21 of those cases, the gear present was described as “lines”

not “vertical lines” as the district court claimed. Compare A815 with A226. And

“[w]ithout identifying marks,” NMFS explained “we cannot know whether the line

is from gillnet gear, trap/pot gear, or another source.” A815.

       The district court stated that “the agency’s fourth and most significant

conclusion” was that “99.7% of vertical lines in the relevant area are from trap/pot

lines.” A226. The district court reasoned that right whales interact with lines “in

rough proportion to their presence in the water.” Id. This is an incomplete

statement; therefore, it is false. The risk of entanglement is determined by two

factors: the presence of gear and the likelihood that the area where the gear is

present overlaps with occurrence of right whales. A807-08. As a consequence,

there are areas where there is a high proportion of lines in the water but the risk of

entanglement is very low because the potential for right whale occurrence in those

areas is low. In fact, as Maine pointed out when commenting on the draft

Biological Opinion, Maine’s exempt waters typically contain 73 percent of the

vertical lines in the Maine lobster fishery but account for just three percent of the

risk of entanglement of right whales. A1225. It was unreasonable for NMFS to

disregard the best available data regarding entanglement by gear type and attribute

100 percent of entanglements where the gear was unknown to the lobster fishery

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on the basis of the arguments presented to and accepted by the district court. By

doing so, NMFS violated its duty to “use the best scientific and commercial data

available,” 16 U.S.C. § 1536(a)(2), and failed to “examine the relevant data and

articulate a satisfactory explanation for its action.” State Farm, 463 U.S. at 43.

             3.     NMFS erred by disregarding the data on natural mortality
                    of right whales.
       NMFS further erred when it attributed zero right whale mortality to natural

causes. A819 (“Natural mortality is not included in the apportionment as there is

little evidence showing this to be a cause of right whale mortality . . .”). This is

incorrect – peer-reviewed analyses in the record show that natural mortality does

occur. Concluding otherwise led NMFS to improperly understate natural mortality

and overstate the effects of the lobster fishery (and other sources of entanglements

and vessel strikes) on right whales.

       In the Biological Opinion, NMFS refers to all unobserved mortality of right

whales as cryptic mortality. A810 (“Cryptic mortality refers to the death of an

animal without resulting in an observed carcass.”). Rather than further

differentiate between human- and natural-caused cryptic mortality, NMFS

apportions all cryptic mortality across vessel strikes and entanglements and to the

United States and Canada. Id. In other words, NMFS assumes away any natural

mortality. Common sense dictates that all species have the potential to succumb to




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non-anthropogenic sources of mortality (e.g., disease, predation, and lack of

adequate prey). Thus, on its face, the agency’s assumption is arbitrary.

       In addition, published, peer-reviewed analyses in the record provided

evidence that, while most right whale mortality is anthropogenic, a significant

proportion is natural. For example, van der Hoop et al. (2012) specifically

analyzed trends in cause-specific mortalities in large whales, including right

whales. A1926-37. The authors examined large whale mortality data from the

period 1970 to 2009. A1928. They summarized their findings in table 2 of the

article, which reported that of the 122 right whale mortalities identified for that

period, 70 were anthropogenic, 17 were natural, and 35 were undetermined.

A1936. In other words, 17 of 87 mortalities (or 20 percent) where the source could

be determined were natural mortalities.

       Sharp et al. (2019) also analyzed right whale mortalities. A1884-1914.

They focused on the period 2003-2018. A1886. The authors identified the cause

of mortality in 43 of the 70 cases examined. Of these, 5 of 43 (or 12 percent) are

categorized as natural, all involving right whale calves. A1889. These published,

peer-reviewed analyses considered by NMFS and included in the record utilize the

best scientific and commercial data available and demonstrate that the position

taken by NMFS – that there is zero natural mortality of right whales – is arbitrary.

       While acknowledging that this argument has “intuitive appeal” (but ignoring

that it is backed by actual data), the district court opined that natural mortality is

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“not statistically significant.” A228. “Statistically significant” is a term of art

(denoting the probability that the results of a hypothesis test are due to chance

rather than a relationship between the two variables being analyzed), and this is not

an argument that NMFS made or is supported by the record and it should not be

countenanced.

       The district court also adopted the agency’s argument that calf survival rates

are unimportant to right whale population dynamics. A229 (parroting the NMFS

argument that “adult-female survival rates, not calf survival rates, are the key

determinant of population dynamics”). But the district court misses the point.

While the district court accurately asserted that “calves do not typically enter

population counts until about six months old,” id., the underlying study to which

the district court cited (Pace et. al 2017) explains that this is because six months is

the time at which they “develop callosity patterns that make them identifiable.”

A1810. The district court misconstrued a factual predicate for a supporting

conclusion. The point that Pace and colleagues were making was that estimating

calf survival is difficult given the fact that calves cannot be individually identified

until they are about 6 months old – thus, survival estimates for that class of whale

(i.e., 0-1 year) are only based on about a half-year of data. See A1809-10. They

were not saying that calf deaths are inconsequential. In fact, Pace et al. point out

that right whale calving rates are low. A1810. As a consequence, the relative

biological value of each individual calf is high. While the “population dynamics of

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long-lived mammals are typically sensitive to adult female survival,” A495

(emphasis added), calf reproduction and survival are also essential to a positive

population growth rate. In any event, the assumption that all unknown right whale

mortality is attributable to human causes is belied by the best available data. And

the agency has failed to provide a satisfactory explanation for its decision to turn a

blind eye to that data. Therefore, NMFS violated the APA and ESA. E.g., State

Farm, 463 U.S. at 43 (under the APA, an agency must “examine the relevant data

and articulate a satisfactory explanation for its action”).

VII. CONCLUSION
       For the reasons set forth above, the State of Maine, through its Department

of Marine Resources, respectfully requests that this Court reverse the decision of

the district court, hold that the Biological Opinion violates the APA and ESA, and

remand the Biological Opinion to NMFS. To prevent needless disruption and

harm to the State and its citizens, we request remand without vacatur of the

Biological Opinion.

       Respectfully submitted,


Dated: November 9, 2022

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        CERTIFICATE OF COMPLIANCE WITH TYPE-VOLUME
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       This response complies with the length limit in Fed. R. Civ. P. 27(d)(2)(A),
because the response contains 5,842 words.
       This response complies with the typeface requirements of Fed. R. App. P.
32(a)(5) and the type style requirements of Fed. R. App. P. 32(a)(6). The response
has been prepared using 14 point Times New Roman font.

Dated: November 9, 2022           /s/ Paul S. Weiland
                                  Paul S. Weiland (D.C. Cir. No. 56111)




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                         CERTIFICATE OF SERVICE

       In accordance with F.R.A.P. 25(d), and the Court’s Administrative Order
Regarding Electronic Case Filing, I hereby certify that on November 9, 2022, I
electronically filed the foregoing by using the Court’s CM/ECF system and that
service will be accomplished by the appellate CM/ECF system on all participants
registered in this case as CM/ECF users.



                                      /s/ Paul S. Weiland
                                            Paul S. Weiland




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                             ADDENDUM




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16 U.S.C. §1536. Interagency cooperation

(a) Federal agency actions and consultations

…

       (2) Each Federal agency shall, in consultation with and with the assistance of
the Secretary, insure that any action authorized, funded, or carried out by such
agency (hereinafter in this section referred to as an “agency action”) is not likely to
jeopardize the continued existence of any endangered species or threatened species
or result in the destruction or adverse modification of habitat of such species which
is determined by the Secretary, after consultation as appropriate with affected States,
to be critical, unless such agency has been granted an exemption for such action by
the Committee pursuant to subsection (h) of this section. In fulfilling the
requirements of this paragraph each agency shall use the best scientific and
commercial data available.




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50 C.F.R. §402.02 Definitions.

…

       Effects of the action are all consequences to listed species or critical habitat
that are caused by the proposed action, including the consequences of other activities
that are caused by the proposed action. A consequence is caused by the proposed
action if it would not occur but for the proposed action and it is reasonably certain
to occur. Effects of the action may occur later in time and may include consequences
occurring outside the immediate area involved in the action. (See § 402.17).




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